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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

CLARENCE WAYNE P Y L E ,                       §
    Plaintiff,                                 §
                                               §
vs.                                            §           Civil Action No. 4:15-cv-00930
                                               §
METROPOLITAN LLOYDS                            §
INSURANCE COMPANY OF                           §
TEXAS,                                         §
     Defendant,

                    AGREED MOTION FOR DISMISSAL WITH PREJUDICE

TO THE HONORABLE COURT:

            Plaintiff, Clarence Wayne Pyle, and Defendant Metropolitan Lloyds Insurance Company

of Texas, file this their Agreed Motion for Dismissal with Prejudice and would respectfully show

unto the Court the following:

                                                   I.

            Plaintiff and Defendant, through their counsel of record, announce to the Court that all

matters in controversy between them have been fully and finally settled. Plaintiff no longer

desires to prosecute this suit against Defendant Metropolitan Lloyds Insurance Company of

Texas.

                                                   II.

            Plaintiff and Defendant move this Court to dismiss this case with prejudice, as to

defendant, with all costs to be taxed against the party incurring same.

            WHEREFORE, Plaintiff and Defendant respectfully request the Court enter their Agreed

Order of Dismissal With Prejudice.




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                                    Respectfully submitted,



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                                    James Willis
                                    State Bar No. 24088654
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                                    COUNSEL FOR PLAINTIFF




                                    /s/Daniel P. Buechler
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                                    METROPOLITAN LLOYDS INSURANCE
                                    COMPANY OF TEXAS




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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 28th day of April, 2016, the foregoing motion was served by
certified mail, return receipt requested upon the following counsel of record for Plaintiffs:

Richard D. Daly
James Willis
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COUNSEL FOR PLAINTIFF

                                           /s/Daniel P. Buechler
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